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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION

                                                )
RENE JUNK, as Parent and Next Best              )
Friend of T.J., a Minor,                        )
                                                )
        Plaintiff,                              )
                                                )
vs.                                             )               CASE NO.: 4:05-CV-608
                                                )
TERMINIX INTERNATIONAL                          )
COMPANY LIMITED PARTNERSHIP;                    )
THE DOW CHEMICAL COMPANY;                       )
DOW AGROSCIENCES LLC; HAROLD                    )
OBRECHT, an individual; AND JIM                 )
BRENEMAN, an individual,                        )
                                                )
        Defendants.                             )




MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

         NOW COMES the defendant, THE TERMINIX INTERNATIONAL COMPANY, LP

(hereafter “Terminix”), by and through the undersigned counsel, and for its Memorandum of

Law in Support of its Motion for Summary Judgment, states as follows:

                                   I.     INTRODUCTION

         The plaintiff has filed a Second Amended Complaint against Terminix, THE DOW

CHEMICAL COMPANY, and DOW AGROSCIENCES, LLC, seeking recovery for personal

injuries allegedly sustained by T.J. as a result of exposure to a pesticide named Dursban L.O.

0.5%.     The product, which was manufactured by the Dow defendants, was applied at the

plaintiff’s home in Knoxville, Iowa on four occasions between March 27, 1992 and T.J.’s birth

on August 28, 1992, and on several occasions after his birth.




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        The plaintiff’s Second Amended Complaint seeks recovery against Terminix under

theories of negligence and strict product liability. 1 Terminix is entitled to summary judgment

based upon the following grounds: First, the plaintiff has produced no competent evidence

establishing that T.J.’s injuries are causally related to exposure to the Dursban pesticide. Second,

it is undisputed that Terminix did not manufacture or sell the Dursban product and plaintiff has

presented no expert testimony or other evidence to establish the necessary elements of a product

liability claim.   Third, it is undisputed that Terminix properly applied the product at the

plaintiff’s home in accordance with the EPA-approved label and plaintiff has produced no expert

testimony or other evidence showing negligence on the part of Terminix. Fourth, the plaintiff’s

claims are preempted under FIFRA.

                                         II.      ARGUMENT

A.      Plaintiff Has No Competent Evidence To Establish Causation

        “A necessary element of a negligence cause of action is causation.” Housley v. Orteck

Int’l., Inc., 488 F.Supp.2d 819, 830 (S.D. Iowa 2007). Likewise, causation is required in a strict

liability action. Id. at 830-31. Plaintiff has produced no competent evidence establishing that

T.J.’s injuries are causally related to exposure to the Dursban pesticide.

        Plaintiff disclosed two experts to testify regarding causation of the injuries, Dr.

Mohammed Abou-Donia and Dr. Cynthia Bearer. As set forth more fully in Terminix’s Motion

to Strike Plaintiff’s Experts, the opinions of Dr. Abou-Donia and Dr. Bearer lack the scientific

reliability required under Rule 702 and Daubert v. Merrill Dow Pharmaceuticals, 509 U.S. 579

(1993) and should be stricken. When the unscientific and unreliable opinions of Drs. Abou-


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         The Second Amended Complaint also named Terminix employee Jim Breneman, but all claims against Mr.
Breneman were dismissed on October 3, 2006. (See Court Order filed 11-3-06, Doc. No. 65). Also, in the same
order, the Court dismissed Counts II, III, IV and V of the Second Amended Complaint as to Terminix. (Id.).
Accordingly, the only remaining claims against Terminix are in Count VII, which pleads negligence and strict
products liability.

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Donia and Bearer are disregarded, plaintiff has no evidence whatsoever establishing causation,

thereby entitling Terminix to summary judgment as to all claims.

B.      Plaintiff Cannot Establish A Strict Products Liability Claim Against Terminix

        Strict product liability extends to the seller of a product. Wright v. Brooke Gp., Ltd., 652

N.W.2d 159, 164 (Iowa 2002); see also Kleve v. General Motors Corp., 210 N.W.2d 568, 570

(1973)(stating that one of the essential elements of a product liability action is the “sale of a

product by the defendant”).

        It is undisputed that the Dursban L.O. product was manufactured by Dow.                 (See

plaintiff’s Second Amended Complaint, App. 37, ¶45; Dow’s Answer to Second Amended

Complaint, App. 51, ¶45). It is also undisputed that Terminix never sold any products to the

Junks. Mr. and Mrs. Junk testified that between the time the Junks first received service from

Terminix in March 1992 and the time the service was cancelled in November 1994, Terminix

never sold any products to them. (Rene Junk Dep., Vol. II, App. 8; Dean Junk Dep., App. 17).

Instead, all Terminix did was perform pest control services. (Rene Junk Dep., Vol. II, App. 8;

Dean Junk Dep., App. 17). Accordingly, Terminix cannot be liable under a theory of strict

products liability.

        Moreover, plaintiff has not offered expert testimony, or any evidence whatsoever, to

establish the necessary elements of a strict products liability claim.

C.      There Is No Evidence of Negligence On The Part Of Terminix

        Jim Breneman and Harold Obrecht, the two Terminix technicians involved in treating the

home, testified that they would have applied the products in accordance with the product

labeling. (Breneman Dep., App. 20, 24, 26; Obrecht Dep., App. 32). Mr. Breneman and Mr.

Obrecht described the manner in which the Dursban pesticide was applied and their applications

complied in all respects with the product labeling and are consistent with the recollection of Mrs.

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and Mrs. Junk regarding the manner in which the product was applied. (Breneman Dep., App.

20, 24, 26; Dean Junk Dep., App. 11-12; Rene Junk Dep., Vol. II, App. 3, 5-7).

        Neither Mr. nor Mrs. Junk had any criticisms of the application procedures used by

Terminix, and neither had any information that the procedures utilized by Terminix were

improper or not in compliance with the product labeling. (Rene Junk Dep., Vol. II, App. 8; Dean

Junk Dep., App. 16). None of the experts disclosed by the plaintiff have any criticisms of the

application procedures used by Terminix at the Junk home. (Abou-Donia Dep., App. 66; Bearer

Dep., App. 69). 2

        At her deposition, Mrs. Junk was critical of the fact that the Terminix technicians allowed

her to follow them around the home while the applications were being performed and did not

instruct her to ventilate the home following the applications. (Rene Junk Dep., Vol. II, App. 9).

Plaintiff has not offered expert testimony, or any evidence whatsoever, to establish that

reasonable care required Terminix to instruct the homeowner to vacate the area during

applications or to ventilate the home following applications. In fact, it is undisputed that the

product labeling did not prohibit persons from being present in the home during the applications

nor require that the home be ventilated following the applications. (Rotramel Declaration, App.

74-75; Rene Junk Dep., Vol. II, App. 9).

        Plaintiff’s final theory of negligence against Terminix is based on the claims of Mr. and

Mrs. Junk that they were told by the Terminix technicians that the products were safe. (Rene

Junk Dep., Vol. II, App. 8; Dean Junk Dep., App. 11). It should be noted that neither Terminix

technician recalls making such a statement. Moreover, a claim that a product is “safe” is so


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         Further, plaintiff’s rebuttal expert, Dr. Richard Fenske, cannot be used to defeat summary judgment. His
opinions should be stricken because they do not satisfy Rule 702 and Daubert and do not qualify as rebuttal.
Further, rebuttal evidence cannot be used to establish a case-in-chief. Marmo v. Tyson Fresh Meats, Inc., 457 F.3d
748 (8th Cir. 2006).

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vague as to be meaningless and cannot give rise to liability. Most importantly, plaintiff has

presented no evidence whatsoever from which a jury could conclude that it would have been

negligent for the technicians to describe the product as safe when being applied in the precise

manner prescribed by the label (which is indisputably what occurred at the Junk home).

D.     Plaintiff’s Claims Are Preempted Under FIFRA

       It is undisputed that the Terminix technicians applied the product in accordance with the

product labeling.   (Breneman Dep., App. 20, 24, 26; Obrecht Dep., App. 32).           It is also

undisputed that the Dursban pesticide manufactured by Dow (Complaint, App. 37, ¶45; Dow’s

Answer to Second Amended Complaint, App. 51, ¶45) was registered by the EPA and approved

for the usages set forth on the product label.      (Dow’s Answers to Plaintiff’s First Set of

Interrogatories, App. 88).

       When applying for registration, manufacturers must submit draft label language

addressing a number of topics including ingredients, directions for use, and any information of

which they “are aware regarding unreasonable adverse effects of the pesticide on man or the

environment.” 40 C.F.R. § 152.50(f)(3); Netland v. Hess & Clark, Inc., 284 F.3d 895, 898 (8th

Cir. 2002). Where, as here, a pesticide has been registered with the EPA, the Federal Insecticide,

Fungicide and Rodenticide Act (FIFRA), 7 U.S.C. §136, et seq. preempts claims which would

have the practical effect of imposing additional labeling requirements beyond the label approved

by the EPA. Hardin v. BASF Corp., 397 F.3d 1082, 1085 (8th Cir. 2005).

       Despite the fact that Terminix complied with the product label, Mrs. Junk was critical of

the Terminix technicians for allowing her to follow them around the home while the applications

were being performed and for not instructing her to ventilate the home following the

applications. (Rene Junk Dep., Vol. II, App. 8-9). Mr. and Mrs. Junk also claim the Terminix

technicians told them that the products were safe. (Rene Junk Dep., Vol. II, App. 8-9; Dean Junk

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Dep., App. 11). The Dursban label approved by the EPA contained no requirement that the areas

of treatment be vacated, no requirement that the home be ventilated after treatments and no

indication that precautions not contained on the label were required. Claims that Terminix

should have provided such information have the practical effect of imposing new or additional

labeling requirements and are therefore preempted under FIFRA. See Riegel v. Medtronic, Inc.,

128 S.Ct. 999, 1008 (2008)(noting that “state requirement” for preemption purposes includes

common law tort duties and where imposition of a tort duty disrupts the federal scheme, claim is

preempted).

                                       III.      CONCLUSION

        WHEREFORE, the defendant, THE TERMINIX INTERNATIONAL COMPANY, LP,

requests that this Court enter a final and appealable order of summary judgment in favor of

Terminix and against the plaintiff, pursuant to Rule 56 of the Federal Rules of Civil Procedure,

and for all other just and appropriate relief.




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                          Respectfully submitted,

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                              CERTIFICATE OF SERVICE

        I hereby certify that on May __, 2008, Defendant’s Memorandum of Law in Support of
its Motion for Summary Judgment was filed electronically with the Clerk of Court to be served
by operation of the Court’s electronic filing system upon the following:

                                                  /s/ Kent A. Gummert


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